Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 1 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 2 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 3 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 4 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 5 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 6 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 7 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 8 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 9 of 10
Case 1:24-cv-07778-JLR   Document 26   Filed 10/16/24   Page 10 of 10
